Case 5:23-cr-00188      Document 305-10         Filed 07/02/25     Page 1 of 1 PageID #: 1854



To whom it may concern:

I am Russell Holdren, the father of Mark Holdren. In around 2012 my son and I had a deep
falling out. I had made bad decisions and so my son and I still do not have much communication
to this day. With this being said, I have other people in my life who keep me updated on Mark so
that I am able to check in on him. My son is a good man and he deserves to spend it with his
children.

Mark has made horrible decisions, ones that have since gotten him into trouble. Although his
choices have had positive outcomes, he is still a very good man. My son is also a father of two
beautiful children, Haley and Konnor. He would do anything in the world for them if he needed
to. He has so much family who love and care for him. These people cherish him and need him
in their lives. Mark has always worked, ever since he was a young boy in his teens. He
supported himself, his now ex-wife, and his children for many years. All i ask if that the court
show mercy on Mark during his time of sentencing.

Very truly,
Russell L. Holdren
